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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10   MOSES HEREDIA, and                     Case No. 5:20-cv-02618-JWH-KKx
        HEREDIA BOXING
   11     MANAGEMENT, INC.,
                                               ORDER REGARDING MOTIONS
   12               Plaintiffs,                TO DISMISS [ECF Nos. 53 & 67]
                                               AND MOTION TO COMPEL
   13         v.                               ARBITRATION [ECF No. 54]
   14   MTK GLOBAL SPORTS
          MANAGEMENT, LLC;
   15   GOLDEN BOY PRODUCTIONS,
          INC.;
   16   VGC, LLP;
        PAUL D. GIBSON;
   17   DANIEL KINAHAN;
        GOLDEN BOY PROMOTIONS,
   18     INC.; and
        MTK GLOBAL USA, LLC,
   19
                    Defendants.
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    1           This case involves a dispute between a boxing manager and several
    2   entities and individuals who are accused of interfering with the manager’s
    3   relationships with his fighters. Presently before the Court are three motions:
    4         the unopposed motion of Plaintiff Moses Heredia to dismiss Defendant
    5           Golden Boy Promotions, Inc. from certain counts of the complaint;1
    6         Golden Boy’s motion to dismiss Heredia’s second amended complaint;2
    7           and
    8         Golden Boy’s motion to compel arbitration.3
    9   The Court finds this matter appropriate for resolution without a hearing. See
   10   Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support and in
   11   opposition,4 the Court orders that the Heredia Motion is GRANTED, Golden
   12   Boy’s Motion to Dismiss is GRANTED in part and DENIED in part, and
   13   Golden Boy’s Arbitration Motion is GRANTED in part and DENIED in part.
   14                                 I. BACKGROUND
   15   A.      Procedural History
   16           Heredia and co-Plaintiff Heredia Boxing Management, Inc. commenced
   17   this action in late 2020. Plaintiffs dismissed Defendant Golden Boy
   18   Productions, Inc.5 and Defendant VGC, LLP in March 2021. In July 2021,
   19
   20
        1
              Pl.’s Mot. to Dismiss (the “Heredia Motion”) [ECF No. 67].
   21   2
              Def.’s Mot. to Dismiss (the “Motion to Dismiss”) [ECF No. 53].
   22   3
              Def.’s Mot. to Compel Arbitration (the “Arbitration Motion”) [ECF
        No. 54].
   23   4
              The Court considered the following papers: (1) Second Am. Compl. (the
   24   “Amended Complaint”) [ECF No. 43]; (2) the Heredia Motion; (3) the
        Arbitration Motion (including its attachments); (4) Pl.’s Opp’n to the
   25   Arbitration Motion (the “Arbitration Opposition”) [ECF No. 58]; (5) Def.’s
        Reply in Supp. of the Arbitration Motion [ECF No. 59]; (6) the Motion to
   26   Dismiss (including its attachments); (7) Pl.’s Opp’n to the Motion to Dismiss
        (the “MTD Opposition”) [ECF No. 57]; and (8) Def.’s Reply in Supp. of the
   27   Motion to Dismiss [ECF No. 60].
        5
              Not to be confused with Golden Boy Promotions, Inc., which is the
   28   movant on the instant Motion to Dismiss and Arbitration Motion.

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    1   Heredia filed the operative Amended Complaint as the sole plaintiff.6 In
    2   addition to Golden Boy, the remaining Defendants are MTK Global Sports
    3   Management, LLC (“MTK Sports Management”); Paul D. Gibson; Daniel
    4   Kinahan; and MTK Global USA, LLC (“MTK USA”). It does not appear that
    5   Heredia has accomplished service of process on Gibson.
    6          Heredia’s Amended Complaint contains the following 11 claims:
    7        violation of Racketeering Influenced and Corrupt Organization (“RICO”)
    8          Act 18 U.S.C. § 1962(a)—Acquiring an Interest in an Enterprise by Use
    9          of Income (against MTK Sports Management, Kinahan, and Gibson);
   10        violation of RICO 18 U.S.C. § 1962(b)—Acquiring or Maintaining an
   11          Interest in or Control of an Enterprise (against MTK Sports
   12          Management, Kinahan, and Gibson);
   13        violation of RICO 18 U.S.C. § 1962(c)—Conducting the Affairs of an
   14          Enterprise (against MTK Sports Management, Kinahan, and Gibson);
   15        violation of RICO 18 U.S.C. § 1962(d)—Conspiracy to Conduct the
   16          Affairs of an Enterprise (against MTK Sports Management, Kinahan, and
   17          Gibson);
   18        tortious interference with Boxer-Manager Contract between Heredia and
   19          Diaz (against MTK Sports Management, MTK USA, Gibson, and
   20          Golden Boy);
   21        tortious interference with promotion-manager contract between Heredia
   22          and Golden Boy (against MTK Sports Management and MTK USA);
   23        inducing breach of Boxer-Manager Contract between the Heredia and
   24          Diaz (against MTK Sports Management, MTK USA, and Golden Boy);
   25
   26   6
              Accordingly, Plaintiff Heredia Boxing Management, Inc. is DISMISSED
        from this action. Some papers filed after the Amended Complaint still list
   27   Heredia Boxing Management as a plaintiff, despite the fact that it is not party to
        the Amended Complaint. As appropriate, the Court interprets certain
   28   references to “plaintiff” or “plaintiffs” as pertaining solely to Moses Heredia.

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    1         intentional interference with prospective economic relations (against
    2           MTK Sports Management, MTK USA, and Golden Boy);
    3         negligent interference with prospective economic relations (against MTK
    4           Sports Management, MTK USA, and Golden Boy);
    5         tortious interference with Boxer-Manager Contract between Heredia and
    6           Feliciano (against Golden Boy); and
    7         breach of implied covenant of good faith and fair dealing concerning the
    8           promotion-manager contract between Heredia and Golden Boy (against
    9           Golden Boy).7
   10           Golden Boy filed its Motion to Dismiss and its Arbitration Motion in
   11   September 2021, and both motions are fully briefed. Heredia filed his
   12   unopposed Heredia Motion in March 2022.
   13   B.      Factual Allegations
   14           This case arises out of a contract dispute between Heredia and the boxers
   15   (and non-parties) Joseph Diaz, Jr. and Luis Feliciano.8 The facts as alleged in
   16   the Amended Complaint are as follows:
   17           Heredia was Diaz’s boxing manager for nearly a decade.9 In February
   18   2017, Diaz and Heredia entered into a so-called Boxer-Manager Contract (the
   19   “Management Contract”).10 The next month, Heredia negotiated a promotion
   20   agreement between Golden Boy and Diaz (the “Promotion Agreement”).11 The
   21   Promotion Agreement was for a five-year term, and it was set to expire in March
   22   2022.12
   23
   24   7
                Id. at ¶ 1.
   25   8
                See, e.g., Amended Complaint ¶ 1.
        9
   26           Id. at ¶ 11.
        10
                Id. at ¶ 14.
   27   11
                Id. at ¶¶ 11 & 12.
   28   12
                Id. at ¶ 12.

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    1         The Promotion Agreement has a no-assignment clause that states:
    2   “Neither the benefits nor the duties of Boxer [i.e., Diaz] under this Agreement
    3   may be assigned or transferred for any reason.”13 Diaz listed Plaintiff Moses
    4   Heredia and Ralph Heredia—Moses’ brother—as Diaz’s representatives.14
    5         Three years later, on August 4, 2020,15 Diaz signed a “business advisory
    6   agreement” with Defendant MTK USA (the “MTK Agreement”).16 Five days
    7   after that, Diaz texted Ralph Heredia, stating “I signed an advisory deal with
    8   MTK, it’s being Announced [sic] tomorrow. I’m doing this for my career and
    9   feel like it’s the best choice. It’s time for a change. [flexed arm emoji].”17
   10   Thereafter, the Heredia brothers called Diaz, but Diaz did not answer.18 In
   11   response, Steve Bash—an attorney with whom Heredia had previously
   12   worked—called Robert Yalen—the CEO of MTK USA—to ask about the MTK
   13   Agreement.19 During the call, Yalen claimed that he did not have knowledge of
   14   the MTK Agreement. Yalen made that claim despite the facts that he is a
   15   signatory to the MTK Agreement and that he spoke to the press about it.20 On
   16   August 14, James Greeley—an attorney from the law firm (and now-dismissed
   17   defendant) VGC, LLP—reached out to Bash at Yalen’s request.21 Greeley
   18   claimed to represent Diaz.22
   19
   20
   21   13
              Id. at ¶ 13.
   22   14
              Id.
        15
   23         Unless otherwise noted, all dates are in 2020.
        16
              Amended Complaint ¶ 17.
   24   17
              Id.
   25   18
              Id.
        19
   26         Id. at ¶ 19.
        20
              Id.
   27   21
              Id. at ¶ 20.
   28   22
              Id.

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    1         Under the MTK Agreement, MTK USA was to advance $100,000 to
    2   Diaz, to be repaid in three installments of $33,333.33, due after Diaz’s next three
    3   bouts.23 The MTK Agreement also provides that MTK USA is Diaz’s sole and
    4   exclusive business advisor.24
    5         The Management Contract between Diaz and Heredia provides that Diaz
    6   “will not, during the term of this agreement, take or engage in any boxing
    7   contests, exhibitions or training exercises without first having obtained the
    8   written permission of Manager [i.e., Heredia] to do so.”25 Accordingly, Heredia
    9   responded to the news regarding Diaz’s purported entry into the MTK
   10   Agreement by invoking the arbitration clause in the Management Contract and
   11   commencing an arbitration proceeding with the California State Athletic
   12   Commission (the “Boxing Commission”).26 The Boxing Commission accepted
   13   Heredia’s arbitration request, but, due to the COVID-19 pandemic, the
   14   arbitration proceeding did not take place until June 2021.27
   15         On the same day that Heredia invoked the arbitration clause, Greeley
   16   emailed Bash requesting a phone call. Bash responded that Heredia would not
   17   communicate with MTK USA until MTK USA provided him with a copy of the
   18   MTK Agreement.28 The next day, Greeley requested to see all offers from
   19   Golden Boy.29 After Bash provided the information from Golden Boy, Greeley
   20   instructed Golden Boy that Greeley was serving as Diaz’s legal counsel and that
   21   Golden Boy should communicate only with Greeley, and not with Heredia.30 By
   22
        23
   23         Id. at ¶ 18.
        24
              Id.
   24   25
              Id. at ¶ 22.
   25   26
              Id. at ¶ 21.
        27
   26         Id.
        28
              Id. at ¶ 23.
   27   29
              Id.
   28   30
              Id.

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    1   September, Greeley had instructed Bash to tell Heredia not to communicate
    2   with Golden Boy on Diaz’s behalf. In October, Diaz filed his complaint against
    3   Ralph Heredia and Heredia Boxing Management in the related case Joseph Diaz
    4   Jr. v. Ralph Heredia, et al.31
    5          VGC, acting in coordination with MTK Sports Management, began
    6   negotiating upcoming bouts with Golden Boy.32 Those negotiations commenced
    7   even though no VGC or MTK Sports Management employee is licensed to
    8   perform boxing management functions in California and even though VGC and
    9   MTK Sports Management knew about the Management Agreement between
   10   Diaz and Heredia.33 Ultimately, Gibson—an MTK Sports Management
   11   employee—personally negotiated the terms of a bout between Diaz and
   12   Shavkatdzhon Rakhimov. That bout took place in February 2021.34 Defendants
   13   also negotiated for a second bout for Diaz in July 2021.35 Golden Boy did not
   14   include Heredia in those negotiations.36
   15          Ultimately, the negotiations for the February 2021 bout did not benefit
   16   Diaz.37 The bout’s payment structure was in line with the Promotion
   17   Agreement that Heredia previously negotiated with Golden Boy.38 However,
   18   Diaz failed to make weight for the bout, which meant that Rakhimov was not
   19   required to fight Diaz.39 Gibson negotiated directly with Rakhimov’s managers
   20   and promoters to pay additional funds from Diaz’s purse to allow the fight to
   21
   22   31
               See Docket, Case No. 5:20-cv-02332-JWH-KK (C.D. Cal.).
        32
   23          Amended Complaint ¶ 25.
        33
               Id. at ¶¶ 25 & 26.
   24   34
               Id. at ¶ 27.
   25   35
               Id.
        36
   26          Id. at ¶ 38.
        37
               Id. at ¶ 35.
   27   38
               Id.
   28   39
               Id. at ¶ 36.

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    1   proceed.40 After the fight, Diaz, advised by Greeley, instructed Golden Boy not
    2   to pay Heredia his 18% management fee. Golden Boy—which had an oral
    3   agreement with Heredia to pay management fees directly from Diaz’s purse—
    4   did not pay Heredia after the bout.41
    5         The purse for the July 9, 2021, bout was set for $500,000. During the
    6   arbitration proceeding in June 2021, the Boxing Commission’s Executive
    7   Director42 “foreshadowed” that Heredia would receive 18% of the purse for that
    8   bout. Shortly thereafter, Golden Boy—in coordination with VGC, MTK Sports
    9   Management, and MTK USA—presented to the Boxing Commission an altered
   10   bout agreement that provided for a purse that was significantly less than
   11   $500,000.43 The Boxing Commission rejected the altered bout agreement, and,
   12   in its July 10, 2021, arbitration decision, the Boxing Commission ordered Golden
   13   Boy to withhold $90,000 from Diaz’s purse for the July 9 bout.44
   14         In the arbitration proceeding, the Boxing Commission found that the
   15   relationship between Diaz and Heredia was irreparably harmed, and it canceled
   16   the remainder of the Management Contract.45 In total, Diaz fought 10 bouts
   17   pursuant to the Management Contract and Promotion Agreement. The first
   18   alleged breach of the Management Contract took place with respect to the tenth
   19   bout.46
   20         Heredia alleges that Golden Boy had a habit of sabotaging the
   21   relationships between Heredia and his boxers by, among other things, failing to
   22
   23   40
               Id.
        41
   24          Id. at ¶ 39.
        42
               It appears that the Executive Director of the Boxing Commission served
   25   as the arbitrator.
        43
   26          Amended Complaint ¶ 28.
        44
               Id.
   27   45
               Id. at ¶ 40.
   28   46
               Id. at ¶ 14.

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    1   provide market rates to his boxers.47 Heredia specifically alleges that Golden
    2   Boy engaged in the same behavior with respect to Feliciano.48
    3         According to Heredia, Golden Boy representatives tried to convince
    4   Feliciano to leave Heredia and to enter into a contract with another manager.49
    5   Heredia responded by speaking with Golden Boy executives, who promised that
    6   Golden Boy would discontinue its attempts to poach Feliciano from Heredia.50
    7   Golden Boy quickly reneged on that promise, and its representatives resumed
    8   their efforts to encourage Feliciano to leave Heredia.51 Although Feliciano never
    9   breached his contract with Heredia, Heredia alleges that Golden Boy’s
   10   communications caused Heredia additional work and complications.52
   11                              II. LEGAL STANDARD
   12   A.    Rule 12(b)(6)—Failure to State a Claim
   13         A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the
   14   claims asserted in a complaint. See Navarro v. Block, 250 F.3d 729, 732 (9th Cir.
   15   2001). In ruling on a Rule 12(b)(6) motion, “[a]ll allegations of material fact are
   16   taken as true and construed in the light most favorable to the nonmoving party.”
   17   Am. Family Ass’n v. City & County of San Francisco, 277 F.3d 1114, 1120 (9th Cir.
   18   2002). Although a complaint attacked by a Rule 12(b)(6) motion “does not need
   19   detailed factual allegations,” a plaintiff must provide “more than labels and
   20   conclusions.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
   21         To state a plausible claim for relief, the complaint “must contain
   22   sufficient allegations of underlying facts” to support its legal conclusions. Starr
   23
   24   47
              Id. at ¶¶ 42 & 43.
   25   48
              Id. at ¶ 49.
        49
   26         Id. at ¶ 50.
        50
              Id. at ¶ 51.
   27   51
              Id. at ¶ 53.
   28   52
              Id. at ¶ 170.

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     1   v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). “Factual allegations must be
     2   enough to raise a right to relief above the speculative level on the assumption
     3   that all the allegations in the complaint are true (even if doubtful in fact) . . . .”
     4   Twombly, 550 U.S. at 555 (citations and footnote omitted). Accordingly, to
     5   survive a motion to dismiss, a complaint “must contain sufficient factual matter,
     6   accepted as true, to state a claim to relief that is plausible on its face,” which
     7   means that a plaintiff must plead sufficient factual content to “allow[] the Court
     8   to draw the reasonable inference that the defendant is liable for the misconduct
     9   alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks
    10   omitted). A complaint must contain “well-pleaded facts” from which the Court
    11   can “infer more than the mere possibility of misconduct.” Id. at 679.
    12   B.     Rule 15(a)—Leave to Amend
    13          A district court “should freely give leave when justice so requires.”
    14   Fed. R. Civ. P. 15(a). The purpose underlying the liberal amendment policy is to
    15   “facilitate decision on the merits, rather than on the pleadings or
    16   technicalities.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000). Therefore,
    17   leave to amend should be granted unless the Court determines “that the
    18   pleading could not possibly be cured by the allegation of other facts.” Id.
    19   (quoting Doe v. United States, 8 F.3d 494, 497 (9th Cir. 1995)).
    20   C.     Motion to Compel Arbitration
    21          Pursuant to the Federal Arbitration Act (the “FAA”), “[a] written
    22   provision in any . . . contract evidencing a transaction involving commerce to
    23   settle by arbitration a controversy thereafter arising out of such contract . . . shall
    24   be valid, irrevocable, and enforceable, save upon such grounds as exist at law or
    25   in equity for the revocation of any contract.” 9 U.S.C. § 2. While the FAA
    26   reflects a “liberal federal policy favoring arbitration,” AT & T Mobility v.
    27   Concepcion, 563 U.S. 333, 339 (2011) (quoting Moses H. Cone Memorial Hosp. v.
    28   Mercury Const. Corp., 460 U.S. 1, 24 (1983)), “arbitration is a matter of contract

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     1   and a party cannot be required to submit to arbitration any dispute which he has
     2   not agreed so to submit,” United Steelworkers v. Warrior & Gulf Navigation Co.,
     3   363 U.S. 574, 582 (1960). “Because the FAA mandates that ‘district courts
     4   shall direct the parties to proceed to arbitration on issues as to which an
     5   arbitration agreement has been signed,’ the FAA limits courts’ involvement to
     6   ‘determining (1) whether a valid agreement to arbitrate exists and, if it does,
     7   (2) whether the agreement encompasses the dispute at issue.’” Cox v. Ocean
     8   View Hotel Corp., 533 F.3d 1114, 1119 (9th Cir. 2008) (internal citations and
     9   emphasis omitted) (quoting Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d
    10   1126, 1131 (9th Cir. 2000)).
    11          In evaluating the validity of an arbitration agreement, federal courts
    12   “apply ordinary state-law principles that govern the formation of contracts,”
    13   Ingle v. Circuit City Stores, Inc., 328 F.3d 1165, 1170 (9th Cir. 2003) (quoting First
    14   Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944 (1995)), “while giving due
    15   regard to the federal policy in favor of arbitration by resolving ambiguities as to
    16   the scope of arbitration in favor of arbitration,” Mundi v. Union Sec. Life Ins. Co.,
    17   555 F.3d 1042, 1044 (9th Cir. 2009) (quoting Wagner v. Stratton Oakmont, Inc.,
    18   83 F.3d 1046, 1049 (9th Cir. 1996)).
    19                                   III. DISCUSSION
    20   A.     The Heredia Motion
    21          Heredia requests that the Court: (1) dismiss with prejudice his ninth
    22   claim with respect to Golden Boy; and (2) dismiss with prejudice the entirety of
    23   his tenth claim for relief.53
    24
    25
    26   53
                See generally Heredia Motion. Heredia asserts his ninth claim for relief—
         for negligent interference with prospective economic relations—against MTK
    27   Sports Management, MTK USA, and Golden Boy. Heredia asserts his tenth
         claim for relief—for tortious interference with the Boxer-Manager Contract
    28   between Heredia and Feliciano—against only Golden Boy.

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     1         To support his Motion, Heredia avers that: (1) he has reached a
     2   confidential settlement with Golden Boy with respect to those claims for relief;54
     3   (2) Golden Boy’s counsel consents to the request;55 and (3) he complied with
     4   the conference-of-counsel requirement imposed by L.R. 7-3.56
     5         In the absence of opposing papers from Golden Boy, or from any other
     6   defendant, the Court will GRANT the Heredia Motion. See L.R. 7-12 (“[t]he
     7   failure to file any required document, or the failure to file it within the deadline,
     8   may be deemed consent to the granting or denial of the motion . . . .”); see also
     9   Hartranft v. Encore Cap. Grp., Inc., 2021 WL 2473951, at *10 (S.D. Cal. June 16,
    10   2021) (“where a non-moving party fails to address an argument raised by the
    11   moving party in the opposition brief, the Court may consider any arguments
    12   unaddressed by the non-moving party as waived”). Heredia’s ninth claim for
    13   relief with respect to Golden Boy, as well as Heredia’s tenth claim for relief in its
    14   entirety, are DISMISSED with prejudice. That dismissal leaves Heredia’s
    15   fifth, seventh, eighth, and eleventh claims remaining for the Court to address.
    16   B.    Golden Boy’s Motion to Dismiss
    17         Golden Boy asks the Court to dismiss all six of the claims for relief that
    18   Heredia has asserted against it—Heredia’s fifth, seventh, eighth, ninth, tenth,
    19   and eleventh claims.57 Because the Court already dismissed Heredia’s ninth and
    20   tenth claims with respect to Golden Boy, the Court need address only the fifth,
    21   seventh, eighth, and eleventh claims.
    22
    23   54
               Id. at 2:4-5. Throughout the Heredia Motion, Heredia refers to “the
    24   complaint.” The Court assumes that Heredia is referring to the Amended
         Complaint.
    25   55
               Id. at 2:9-11.
         56
    26         Pl.’s Notice of Motion (the “Notice”) [ECF No. 67] 2:11-17. Heredia
         neither consecutively paginated the Notice and the Motion nor did he file them
    27   as separate documents. Accordingly, and confusingly, ECF No. 67 has two first,
         second, and third pages.
    28   57
               See generally Motion to Dismiss.

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     1         1.     Interference-Related Claims
     2         The parties agree that “for purposes of a motion to dismiss, the elements
     3   of [tortious interference with contract; inducing breach of contract; and
     4   intentional interference with prospective economic relations] are essentially the
     5   same.”58 Accordingly, the Court can and will analyze Heredia’s fifth (tortious
     6   interference with contract), seventh (inducing breach of contract), and eighth
     7   (intentional interference with prospective economic relations) claims for relief
     8   against Golden Boy together.
     9         Under California law, the elements of a claim for tortious interference
    10   with a contract are: “(1) a valid contract between plaintiff and a third party;
    11   (2) defendant’s knowledge of this contract; (3) defendant’s intentional acts
    12   designed to induce a breach or disruption of the contractual relationship;
    13   (4) actual breach or disruption of the contractual relationship; and (5) resulting
    14   damage.” United Nat’l Maint., Inc. v. San Diego Convention Center, Inc., 766
    15   F.3d 1002, 1006 (9th Cir. 2014) (quoting Pac. Gas & Elec. Co. v. Bear Stearns &
    16   Co., 50 Cal. 3d 1118, 1126 (1990)). The tort of inducing a breach of contract is
    17   “a species of intentional interference with contractual relations[,]” and it has
    18   the same elements. 1-800 Contacts, Inc. v. Steinberg, 107 Cal. App. 4th 568, 585
    19   (2003). A claim for intentional interference with prospective economic
    20   advantage “has essentially the same elements as a claim for intentional
    21   interference with contractual relations, but additionally requires proof that the
    22   defendant not only interfered with the plaintiff’s expectancy, but engaged in
    23   conduct that was wrongful by some legal measure other than the fact of
    24   interference itself.” Stereoscope, LLC v. U.S. Bank Nat’l Ass’n, 675 F. App’x
    25   725, 726 (9th Cir. 2017).
    26
    27
    28   58
               MTD Opposition 2:18-19; see also Motion to Dismiss 4:26-27.

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     1         To state a claim for each of those torts, a plaintiff “must allege . . . that
     2   the contract would otherwise have been performed” but for the alleged
     3   misconduct. Id. (quoting Hahn v. Diaz-Barba, 194 Cal. App. 4th 1117, 1196
     4   (2011)); see also Nat’l Funding, Inc. v. Com. Credit Counseling Servs., Inc., 2018
     5   WL 6444899, at *5 (C.D. Cal. Nov. 16, 2018) (“Plaintiff likewise fails to
     6   sufficiently allege that the . . . agreements would not have been breached or
     7   disrupted but for the alleged interference”) (citing Dryden v. Tri-Valley Growers,
     8   65 Cal. App. 3d 990, 997 (1977)). A third party cannot be liable for those torts
     9   when the contractual relationship had already “soured” to the point that a
    10   contract would not have been performed prior to the alleged third-party
    11   misconduct. Stereoscope, 675 F. App’x at 726 (dismissing a claim because the
    12   relationship between the two contracted parties “soured months before” the
    13   alleged third-party misconduct).
    14         Here, the parties disagree over whether Heredia alleges sufficiently that
    15   the contract would have been performed but for Golden Boy’s actions.59 Golden
    16   Boy argues that Heredia and Diaz’s relationship had “irreparably soured” by
    17   August 2020, which was months before Golden Boy’s alleged misconduct.60
    18   Heredia disputes that characterization, but he fails to cite an excerpt from his
    19   Amended Complaint that supports his argument persuasively.61
    20         According to the Amended Complaint, Diaz signed the MTK Contract in
    21   August 2020, at which point Diaz told Heredia’s brother that it was “time for a
    22   change,” and Diaz stopped communicating with Heredia.62 The Amended
    23   Complaint alleges no misconduct or interference by Golden Boy before that
    24   exchange. Despite Heredia’s argument to the contrary, it does not matter that
    25
         59
    26         Compare Motion to Dismiss 5:23-7:12 with MTD Opposition 2:23-7:22.
         60
               Motion to Dismiss 7:7-10.
    27   61
               See, e.g., MTD Opposition 6:21-7:2.
    28   62
               Amended Complaint ¶ 17.

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     1   Heredia was still ready and willing to perform his contractual obligations;63 Diaz
     2   appears to have decided to breach the Management Contract before Golden
     3   Boy’s alleged misconduct.
     4         Because Heredia has not alleged that the contract between Heredia and
     5   Diaz would have been performed but for Golden Boy’s conduct, Heredia has
     6   failed to state a claim against Golden Boy. Heredia’s fifth, seventh, and eighth
     7   claims against Golden Boy are DISMISSED with leave to amend.
     8         2.     Implied Covenant of Good Faith and Fair Dealing
     9         In his eleventh claim for relief, Heredia alleges that Golden Boy breached
    10   the implied covenant of good faith and fair dealing when it:
    11         prevented Plaintiff from receiving a payment of $90,000 (or $72,000
    12         as reduced due to the weight failure) from the bout on February 13,
    13         2021. [Golden Boy] and Mr. Heredia had an oral agreement that
    14         management fees are paid directly from the purse of a bout. This
    15         oral agreement concerning the promotion contract existed for the
    16         duration of this contract between Mr. Heredia and [Golden Boy].
    17         Further, [Golden Boy] undermined the contract by negotiating
    18         directly with Mr. Gibson and MTK [Sports Management] instead of
    19         Mr. Heredia.     [Golden Boy] has discretionary power affecting
    20         [Heredia]. In this instance, [Golden Boy] did not exercise that power
    21         in good faith. [Golden Boy] unfairly frustrated [Heredia’s] right to
    22         receive the benefits of the agreement made.64
    23   Golden Boy argues that Heredia’s eleventh claim must fail because Heredia
    24   “does not identify any specific contractual obligations” that Golden Boy
    25   breached or frustrated.65
    26
         63
               See MTD Opposition 5:12-14.
    27   64
               Amended Complaint ¶ 178 (emphasis added).
    28   65
               Motion to Dismiss 9:16-17.

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     1         “In order to state a claim for breach of an implied covenant of good faith
     2   and fair dealing, the specific contractual obligation from which the implied
     3   covenant of good faith and fair dealing arose must be alleged.” Griffin v. Green
     4   Tree Servicing, LLC, 166 F. Supp. 3d 1030, 1048 (C.D. Cal. 2015) (quotation and
     5   citation omitted) (emphasis added). “The implied covenant of good faith and
     6   fair dealing is limited to assuring compliance with the express terms of the
     7   contract, and cannot be extended to create obligations not contemplated by the
     8   contract.” Grant v. Aurora Loan Servs., Inc., 736 F. Supp. 2d 1257, 1268
     9   (C.D. Cal. 2010).
    10         Here, Heredia avers that Golden Boy breached the implied covenant of
    11   good faith and fair dealing by not paying Heredia 18% of Diaz’s purse from the
    12   February 2021 bout.66 Golden Boy argues that Heredia fails to state a claim
    13   because he “does not allege any specific contractual terms that purportedly
    14   require [Golden Boy] to pay [Heredia] that amount.”67 Golden Boy is incorrect.
    15   Heredia alleges that he and Golden Boy had:
    16         an oral agreement concerning disbursement of the manager fees.
    17         This agreement states that management fees are paid directly from
    18         the purse of a bout. After negotiating with Mr. Gibson and MTK
    19         [Sports Management], [Golden Boy] did not follow oral agreement
    20         and prevented a $90,000.00 payment, or a $72,000.00 payment as
    21         reduced by the weight failure, due to [Heredia].68
    22   Later in the Amended Complaint, when discussing his eleventh claim for relief,
    23   Heredia refers to that oral agreement.69 Accordingly, Golden Boy’s Motion to
    24   Dismiss is DENIED with respect to the eleventh claim.
    25
         66
    26         Amended Complaint ¶ 178.
         67
               Motion to Dismiss 10:10-12 (emphasis in original).
    27   68
               Amended Complaint ¶ 39.
    28   69
               Id. at ¶ 178.

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     1   C.    Golden Boy’s Arbitration Motion
     2         As discussed above, the Court dismisses Heredia’s ninth and tenth claims
     3   against Golden Boy. Accordingly, the Court analyzes Golden Boy’s Arbitration
     4   Motion with respect to only Heredia’s fifth, seventh, eighth, and eleventh
     5   claims.
     6         1.    Interference-Related Claims
     7         Golden Boy argues that even if Heredia states a legally cognizable claim
     8   against Golden Boy, “any such claims would be subject to arbitration pursuant
     9   to the terms of the promotional contract” between Heredia, Golden Boy, and
    10   Diaz, as well as the promotional contract between Heredia, Golden Boy, and
    11   Feliciano.70 Golden Boy’s argument is premised on the contention that
    12   Heredia’s “claims against [Golden Boy] plainly have a significant relationship to
    13   the promotional contracts[.]”71 In his Opposition, Heredia avers that “none of
    14   the counts alleged against Golden Boy concern a dispute under any Golden Boy
    15   written promoter contract.”72
    16         Claims five, seven, and eight pertain to contracts between Heredia and
    17   either Diaz or Feliciano.73 The contracts to which Heredia and Golden Boy are
    18   parties do not “encompass[] the dispute at issue.” Cox, 533 F.3d at 1119.
    19   Accordingly, the Arbitration Motion is DENIED with respect to those claims.
    20         2.    Implied Covenant of Good Faith and Fair Dealing
    21         Claim eleven references a written promoter contract with Golden Boy.74
    22   Heredia contends that “the gravamen of this Count is not the written promoter
    23   contract. Rather, the Second Amended Complaint specifically alleges that
    24
    25   70
               Arbitration Motion 1:11-14.
         71
    26         Id. at 1:19-20.
         72
               Arbitration Opposition 1:13-14.
    27   73
               See generally Amended Complaint.
    28   74
               See id. at ¶ 175.

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     1   Mr. Heredia and [Golden Boy] had an oral agreement for payment of certain
     2   fees.”75 But those fees were payable only because of the existence of the
     3   Promotion Agreement between Heredia, Golden Boy, and Diaz.76
     4         The Promotion Agreement unmistakably contains an arbitration clause:
     5         Any dispute, controversy or claim arising out of or relating to this
     6         Agreement, including the formation, interpretation, breach or
     7         termination thereof, including whether the claims asserted are
     8         arbitrable, will be referred to and finally determined by arbitration
     9         in accordance with the JAMS Commercial Arbitration Rules before
    10         a single arbitrator who shall be selected by the parties to the
    11         arbitration and who shall be a retired judge or justice.77
    12   The arbitration provision in the Promotion Agreement covers all disputes
    13   “arising out of or relating to” the contract. This language “is broad and far
    14   reaching.” Chiron, 207 F.3d at 1131. The provision “reaches every dispute
    15   between the parties having a significant relationship to the contract and all
    16   disputes having their origin or genesis in the contract.” Simula, Inc. v. Autoliv,
    17   Inc., 175 F.3d 716, 721 (9th Cir. 1999) (finding that a provision encompassing all
    18   disputes “arising in connection with this Agreement” is to be interpreted
    19   “expansively” and “liberally”).
    20         While the arbitration clause is not so broad as to reach Heredia’s fifth,
    21   seventh, eighth, ninth, and tenth claims, it is broad enough to reach his eleventh
    22   claim for relief. Accordingly, the Arbitration Motion is GRANTED with
    23   respect to Heredia’s eleventh claim for relief for breach of the implied covenant
    24   of good faith and fair dealing. Golden Boy requests that the Court stay the
    25
    26   75
               Arbitration Opposition 3:10-14.
         76
    27         See Amended Complaint ¶¶ 12-15.
         77
               Decl. of Ricardo P. Cestero in Supp. of the Arbitration Motion [ECF
    28   No. 54-1], Ex. 3 at 12 (emphasis added).

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     1   claims that are subject to mandatory arbitration.78 Because the Court finds that
     2   only claim eleven is subject to mandatory arbitration, and because that claim is
     3   not central to the resolution of this case, the Court concludes that dismissal of
     4   that claim without prejudice is appropriate. See Sparling v. Hoffman Const. Co.,
     5   864 F.2d 635, 637 (9th Cir. 1988) (upholding a district court’s sua sponte
     6   dismissal of a complaint when the moving party sought only a stay).
     7   Accordingly, the eleventh claim is DISMISSED without prejudice. If he
     8   chooses to do so, Heredia may pursue that claim through an appropriate
     9   arbitration proceeding.
    10                                 IV. CONCLUSION
    11         For the foregoing reasons, the Court hereby ORDERS as follows:
    12         1.       Plaintiff Heredia Boxing Management, Inc. is DISMISSED from
    13   this action.
    14         2.       The Heredia Motion is GRANTED. Heredia’s ninth claim for
    15   relief is DISMISSED with prejudice with respect to Golden Boy. Heredia’s
    16   tenth claim for relief is DISMISSED with prejudice.
    17         3.       Golden Boy’s Motion to Dismiss is GRANTED in part and
    18   DENIED in part. Heredia’s fifth, seventh, and eighth claims for relief against
    19   Golden Boy are DISMISSED with leave to amend. Golden Boy’s Motion to
    20   Dismiss is DENIED with respect to Heredia’s eleventh claim for relief.
    21         4.       Golden Boy’s Arbitration Motion is GRANTED in part and
    22   DENIED in part. Golden Boy’s Arbitration Motion is DENIED with respect
    23   to Heredia’s fifth, seventh, and eighth claims for relief. Golden Boy’s
    24   Arbitration Motion is GRANTED with respect to Heredia’s eleventh claim for
    25   relief. Heredia’s eleventh claim is DISMISSED without prejudice. If Heredia
    26
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    28   78
               See, e.g., Arbitration Motion 7:16-20.

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     1   desires to pursue his eleventh claim for relief, he is DIRECTED to do so
     2   through an appropriate arbitration proceeding.
     3         5.    Heredia is DIRECTED to file an amended pleading, if at all, no
     4   later than April 29, 2022. If Heredia chooses to file an amended pleading, then
     5   he is also DIRECTED to file contemporaneously therewith a Notice of
     6   Revisions to Second Amended Complaint that provides the Court with a redline
     7   version that shows the amendments. If Heredia fails to file his amended
     8   pleading by April 29, 2022, then the Court will DISMISS Heredia’s fifth,
     9   seventh, and eighth claims for relief against Golden Boy with prejudice.
    10         6.    Defendants are DIRECTED to answer or otherwise respond to
    11   Heredia’s operative complaint no later than May 13, 2022.
    12         IT IS SO ORDERED.
    13
    14   Dated: April 11, 2022
                                               John W. Holcomb
    15                                         UNITED STATES DISTRICT JUDGE
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